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                                  Law Offices of      MEMO                       ENDORSED
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November 5, 2021

ViaECF
Hon. Kenneth M. Karas
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, NY 10601

Re: U.S. v. Leibys Mercedes, 17 CR 419 KMK

Your Honor:

       I write to request resolution of two issues.

        First, by Order dated February 25, 2021 (ECF 240), Your Honor appointed me pursuant
to the Criminal Justice Act (CJA) to represent Leibys Mercedes. My understanding of this post-
judgment CJA assignment was limited to exploring a potential motion for Compassionate
Release ("CR") under 18 U.S.C. §3582(c)(l)(A). I have consulted with Mercedes and reviewed
the CR issue and have determined that there is no viable CR motion to be made at this time. If I
am correct that the scope of my CJA assignment was limited to the CR issue, then I request that
the Court relieve me as counsel as there is no further work to be done on that issue. I make this
request without prejudice to Mercedes making a future CR motion should the facts,
circumstances and law in the future justify a reduction in sentence.

        Second, I request that the Court rule on Mercedes request for appointment of counsel
(ECF 245, ECF 253) to represent him in a potential Habeas motion pursuant to 28 U.S.C. §2255.
My understanding is that this potential 2255 motion concerns whether false statements were
made by former Yonkers Police Officer Sean Fogarty in the Grand Jury and/or in affidavits by
Fogarty submitted in application for warrants to search and seize evidence used against
Mercedes at trial. The Government has acknowledged Fogarty's guilty plea to perjury and false
_statements (ECF 249) but disputes that :this_post-:,judgment development entitles Mercedes to
appointment of counsel or other relief.

         Accordingly, I request a ruling on Mercedes' application for appointment of counsel, and
if the request is denied then to notify Mercedes of his right to file a prose §2255 motion. I am
concerned that without a prompt decision on these issues and lack of clarity about current CJA
counsel's scope of representation, the time for filing a §2255 motion may expire to Mercedes

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detriment. This is of particular concern given that the Second Circuit decided ( 19-113 9)
Mercedes' appeal in July, while a motion must be timely made in compliance with §2255(f).

  Application to appoint Mr. Hochheiser as CJA
  counsel to represent Mr. Mercedes in a         Respectfully submitted,
  potential Section 2255 Petition is granted.




                                                 Daniel A. Hochheiser



        Cc:     all counsel via ECF
                Leibys Mercedes by U.S. Mail




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